           Case 3:19-cv-00060-RCJ-WGC Document 11 Filed 03/12/19 Page 1 of 2



1
                                  UNITED STATES DISTRICT COURT
2                                      DISTRICT OF NEVADA
3

4    HP TUNERS, LLC,                                    Case No.: 3:19-cv-00060-RCJ-WGC
5                   Plaintiff,
6                                                       MINUTES OF PROCEEDINGS
     vs.
7
     BOBBIE CANNATA,
8

9                   Defendant.
                                                        March 12, 2019
10

11

12   PRESENT: THE HONORABLE WILLIAM G. COBB, U.S. MAGISTRATE JUDGE
13
     DEPUTY CLERK: Katie Lynn Ogden                REPORTER: Liberty Court Recorder
14
     COUNSEL FOR PLAINTIFF: Cecilia Lee (present)
15
     COUNSEL FOR DEFENDANT: No Appearance
16

17   MINUTES OF PROCEEDINGS: Show Cause Hearing

18   9:01 a.m. Court convenes.
19
            The court is in receipt of Bart K. Larsen, Esq., notice of appearance (ECF No. 9);
20
     however, the court notes for the record that Mr. Larsen is not participating in today’s hearing.
21
            The court holds today’s show cause hearing (ECF No. 8) to address whether or not
22

23   Defendant Bobbie Cannata should be held in contempt for failure to comply with a subpoena

24   issued to her on September 11, 2018, in connection with the matter of HP Tuners, Inc. v.
25
     Kevin Sykes-Bonnet, et al., United States District Court for the Western District of Washington,
26
     Civil Action No. 3:17-cv-005760 BHS, and whether or not she should be compelled to comply
27
     with the Subpoena.
28
                                       MINUTES OF PROCEEDINGS - 1
           Case 3:19-cv-00060-RCJ-WGC Document 11 Filed 03/12/19 Page 2 of 2



1           Ms. Lee advises the court she has been in contact with Mr. Larsen. Mr. Larsen advises
2
     Ms. Lee there are responsive documents he will be sending her and is hopeful this can be
3
     resolved between the parties. Ms. Lee informs the court that she has received some documents
4
     from Mr. Larsen and that a deposition date is scheduled between the parties for early April 2019
5

6    (ECF No. 10). Based on Ms. Lee’s conversation with Mr. Larsen, the Plaintiff will not seek any

7    affirmative form of relief today. However, Plaintiff requests the court schedule a continued
8
     show cause hearing because there appears to be some outstanding documents Plaintiff needs to
9
     produce and counsel will need time to review the documents to ensure the documents are
10
     responsive to the subpoena.
11

12          IT IS ORDERED that a status conference is set for Thursday, 3/28/2019, at 9:00 a.m.

13   Counsel wishing to appear telephonically shall dial 1-877-873-8017, enter the access code
14
     3416460, and enter the security code 32819, approximately five (5) minutes prior to the hearing.
15
            IT IS FURTHER ORDERED that a continued Show Cause Hearing is scheduled for
16
     Monday, 4/22/2019, at 10:00 a.m. Counsel wishing to appear telephonically shall dial
17

18   1-877-873-8017, enter the access code 3416460, and enter the security code 42219,

19   approximately five (5) minutes prior to the hearing.
20
            The parties shall advise the court if either of the upcoming hearings are unnecessary and
21
     can be vacated from the court’s calendar.
22
            There being no additional matters to address at this time, court adjourns at 9:13 a.m.
23

24

25                                                          DEBRA K. KEMPI, CLERK OF COURT
26
                                                            By:                /s/
27                                                                Katie Lynn Ogden, Deputy Clerk

28
                                       MINUTES OF PROCEEDINGS - 2
